                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 12-cv-2620-LTB

ENDREW F., a minor, by and through his parents and next friends, JOSEPH F., and JENNIFER
F.,

Petitioner,

v.

DOUGLAS COUNTY SCHOOL DISTRICT RE-1,

Respondent.



AMICUS CURIAE BRIEF OF FORMER OFFICIALS OF THE U.S. DEPARTMENT OF
EDUCATION, THE JUDGE DAVID L. BAZELON CENTER FOR MENTAL HEALTH
 LAW, THE NATIONAL DOWN SYNDROME CONGRESS, THE AUTISTIC SELF
ADVOCACY NETWORK, THE ARC OF THE UNITED STATES, AND THE ARC OF
          COLORADO IN SUPPORT OF PETITIONER ENDREW F.



       The former officials of the U.S. Department of Education identified below, along with the

Judge David L. Bazelon Center for Mental Health Law, the National Down Syndrome Congress,

the Autistic Self Advocacy Network, the Arc of the United States, and the Arc of Colorado, all

interested parties in the above-captioned case, through counsel María R. Coor of Baker Hostetler

LLP, respectfully submit this brief, in support of Petitioner, Endrew F., as amici curiae.

                                INTEREST OF AMICI CURIAE

       Amicus Dr. Alexa Posny has almost four decades of experience in education, from

classroom teacher to Chief State School Officer to Assistant Secretary of the Office of Special

Education and Rehabilitative Services in the U.S. Department of Education. Dr. Posny was most

recently the Senior Vice President of State and Federal Programs for Renaissance Learning. Dr.
Posny served as Assistant Secretary of the Office of Special Education and Rehabilitative

Services (OSERS) in the U.S. Department of Education from 2009-2012. In this position, she

played a pivotal role in policy and management issues affecting special education and

rehabilitative services across the country. She also served as the principal adviser to the U.S.

Secretary of Education on all matters related to special education. Prior to arriving at the

Department, Dr. Posny served as the Commissioner of Education for the Kansas State

Department of Education (KSDE) from 2007-2009, Director of the Office of Special Education

Programs for the U.S. Department of Education (2006 -2007), deputy commissioner of education

at KSDE (2001-2006), state director of special education at KSDE (1999 to 2001), and the

director of special education for the Shawnee Mission School District in Overland Park, KS

(1997-1999). Prior to that, she was the Director of the Curriculum and Instruction Specialty

Option as part of the Title 1 Technical Assistance Center (TAC) network of TACs across the

United States and a Senior Research Associate at Research and Training Associates in Overland

Park, KS. Dr. Posny has also served on the board of directors for the Chief State School Officers

and the National Council for Learning Disabilities and chaired the National Assessment

Governing Board’s Special Education Task Force.

       Amicus Michael Yudin served as both the Assistant Secretary of the Office of Special

Education and Rehabilitative Services and the Acting Assistant Secretary of the Office of

Elementary and Secondary Education under President Barack Obama. In these capacities, Mr.

Yudin helped implement both the Individuals with Disabilities Education Act (“IDEA”) and the

Elementary and Secondary Education Act of 1965, as amended. Prior to his work at the

Department of Education, Mr. Yudin spent nine years in the United States Senate, where he

worked for senior members of the Senate Health, Education, Labor, and Pensions Committee on



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education legislation, including the IDEA reauthorization of 2004 and the No Child Left Behind

Act of 2001. With more than 25 years of experience in the executive and legislative branches of

the federal government, Mr. Yudin has dedicated his career to advocating on behalf of

educationally disadvantaged students and individuals with disabilities.

       Amicus Stephanie Smith Lee is the Senior Policy Advisor for the National Down

Syndrome Congress and has over thirty-five years of experience in public policy, including

serving in senior Congressional staff positions, as a foundation administrator, and as a nationally

recognized disability parent leader. Since her daughter, Laura, was born with Down syndrome in

1982, Ms. Lee has organized and led many successful bipartisan, collaborative efforts to improve

special education and disability policy in Virginia and at the national level. As the Director of

the Office of Special Education Programs (OSEP) in the U.S. Department of Education, from

2002 through March 2005, Ms. Lee directed the policy development, program planning,

monitoring, evaluation, research and implementation of the Federal special education law.

       Amicus Madeleine Will served as the Assistant Secretary of the Office of Special

Education and Rehabilitative Services under President Ronald Reagan. Ms. Will has more than

35 years of experience advocating for individuals with intellectual disabilities and their families

and developing partnerships of parents and professionals involved in creating and expanding

high-quality education and other opportunities for individuals with disabilities. Since her adult

son, Jonathan, was born with Down syndrome, she has been involved in disability policy efforts

at the local, state, and federal levels. Ms. Will founded the Collaboration to Promote Self-

Determination, a network of national disability organizations pursuing modernization of services

and supports for persons with intellectual and developmental disabilities, so that they can

become employed, live independently in an inclusive community, and rise out of poverty. She



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has also served as Vice President of the National Down Syndrome Society and Chair of the

President’s Committee for People with Intellectual Disabilities.

       Amicus, the Judge David L. Bazelon Center for Mental Health Law (“Bazelon Center”),

is a non-profit legal advocacy organization that has been dedicated to advancing the rights of

people with disabilities, including mental disabilities, for over four decades. Ensuring that

children with disabilities are provided with a free and appropriate public education, as mandated

by the Individuals with Disabilities Education Act, is a central part of the Bazelon Center’s

mission.

       Amicus, the National Down Syndrome Congress (“NDSC”), is the leading national

resource for advocacy, support, and information for anyone touched by or seeking to learn about

Down syndrome, from the moment of a prenatal diagnosis through adulthood. Founded in 1973,

the NDSC is a member-sustained, 501(c)(3) organization, representing the approximately

350,000 people in the United States with Down syndrome and their families. The NDSC’s

programs provide individuals with Down syndrome the opportunities and respect they deserve so

they can live the life of their choosing.

       Amicus, the Autistic Self Advocacy Network (“ASAN”), is a national, private, non-profit

organization run by and for individuals on the autism spectrum. ASAN provides public

educational outreach and promotes public policies that benefit autistic individuals and others

with developmental or other disabilities. ASAN promotes policies that ensure that all people

with developmental disabilities are presumed competent and offered meaningful opportunities to

participate in public programs, including public education. ASAN takes a strong interest in cases

that affect the rights of autistic individuals to participate fully in community life and enjoy the

same rights as others without disabilities.



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       Amicus, The Arc of the United States (The Arc), founded in 1950, is the Nation’s largest

community-based organization of and for people with intellectual and developmental disabilities

(I/DD) with 650 state and local chapters nationwide. Through its legal advocacy and public

policy work, The Arc promotes and protects the human and civil rights of people with I/DD and

actively supports their full inclusion and participation in the community throughout their

lifetimes. The Arc is committed to ensuring that students with I/DD have the right to be educated

in their neighborhood schools with appropriate services, supplementary aids, and supports.

       Amicus, The Arc of Colorado is the Colorado state affiliate of The Arc of the United

States and is dedicated to supporting and advocating for people with I/DD throughout the state of

Colorado.




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                                        INTRODUCTION

       In affirming this Court’s determination that the individualized education program (“IEP”)

offered to Endrew F. (“Drew”) provided a “free and appropriate public education” (“FAPE”)

under the Individuals with Disabilities Education Act (“IDEA”),1 the Tenth Circuit stated that it

was “without question a close case.” Endrew F. ex rel. Joseph F. v. Douglas Cty. Sch. Dist. Re-

1, 798 F.3d 1329, 1342 (10th Cir. 2015), cert. granted, 137 S. Ct. 29 (2016), vacated and

remanded, 137 S. Ct. 988 (2017), vacated sub nom. Endrew F. v. Douglas Cty. Sch. Dist. RE-1,

No. 14-1417, 2017 WL 3300349 (10th Cir. Aug. 2, 2017). It found, however, that “under our

prevailing standard” there were “sufficient indications of Drew's past progress to find the IEP

rejected by the parents substantively adequate.” Id. Now, however, the Supreme Court has

reversed the Tenth Circuit, in an opinion making plain that the “prevailing standard” that this

Court and the Tenth Circuit applied to assess Drew’s IEP was not nearly rigorous enough.

Rather, the Supreme Court determined, the appropriate standard is “markedly more demanding

than the ‘merely more than de minimis’ test applied by the Tenth Circuit.” Endrew F. ex rel.


1
  The Individuals with Disabilities Education Act (“IDEA”) established an “enforceable
substantive right to public education.” Honig v. Doe, 484 U.S. 305, 310 (1988). Under the
IDEA, states that receive federal funds are required to provide a “free appropriate public
education,” or “FAPE,” to all eligible children with disabilities. 20 U.S.C. 1401(9),
1412(a)(1)(A), 1414(d)(1)(A). The “FAPE requirement embodies Congress's ambitious
objective of promoting educational opportunities for such children.” Sch. Comm. of Burlington
v. Dep’t of Educ., 471 U.S. 359, 368 (1985) (internal quotes omitted). The FAPE is achieved for
each child through the development and implementation of an “individualized education
program,” (“IEP”), that is tailored to each child’s individual needs. 20 U.S.C. 1401(29); see 20
U.S.C. 1401(9)(D), 1414(d)(1)(A); 34 C.F.R. 300.22, 300.34, 300.39, and 300.320. The IEP
must include both “special education” and “related services.” “Special education” is “specially
designed instruction” that adapts, as appropriate to the child’s needs, “the content, methodology,
or delivery of instruction . . . to ensure access of the child to the general curriculum, so that the
child can meet the educational standards within the jurisdiction . . . that apply to all children.” 34
C.F.R. § 300.39(b)(3). “Related services” are the “developmental, corrective, and other
supportive services . . . required to assist a child with a disability to benefit from special
education.” 34 C.F.R. § 300.34(a).

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Joseph F. v. Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988, 1000 (2017). Indeed, students offered

an educational program providing for “merely more than de minimis” progress from year to year

“can hardly be said to have been offered an education at all.” Id. at 1001. Accordingly, the

Supreme Court reversed and remanded for consideration of Drew’s particular circumstances

under this “markedly more demanding” standard.

        Under the Supreme Court’s new standard, this “close case” should go the other way.

Under Endrew, all students are entitled to an IEP tailored to their individual circumstances that is

ambitious and reasonably calculated to help them make progress and meet challenging goals.

That standard, the Court made clear, includes students who have fallen behind or who have

significant cognitive or other disabilities. Drew’s 2010 IEP did not meet that standard.

                                          ARGUMENT

   I.      The Supreme Court’s Decision in Endrew Announced a “Markedly More
           Demanding” Standard for Educating Students with Disabilities, Reflecting the
           IDEA’s High Expectations for Students.

        The Tenth Circuit, in affirming this Court, had explained that its “prevailing standard”

was that “the educational benefit mandated by IDEA must merely be ‘more than de minimis.’ ”

Endrew F., 798 F.3d at 1338–39 (quoting Thompson R2-J Sch. Dist. v. Luke P., ex rel. Jeff P.,

540 F.3d 1143, at 1149 (10th Cir. 2008) (quoting Urban ex rel. Urban v. Jefferson Cty. Sch. Dist.

R–1, 89 F.3d 720, 727 (10th Cir. 1996))). It characterized this standard as established by the

Supreme Court’s 1982 decision in Board of Education of Hendrick Hudson Central School

District, Westchester City. v. Rowley, 458 U.S. 176 (1982). Id. In Endrew, however, the

Supreme Court made clear that the “merely more than de minimis” standard is not what Rowley

means. Endrew F., 137 S. Ct. at 1000–01 (2017). Rowley did not “endorse any one standard for

determining ‘when handicapped children are receiving sufficient educational benefits to satisfy



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the requirements of the Act.’” Id., 137 S. Ct. at 993 (quoting Rowley, 458 U.S. at 202). The

Court addressed “[t]hat ‘more difficult problem’ ” in Endrew. Id.

       As the Court explained, schools are required to offer each eligible child an IEP that is

“reasonably calculated to enable [the] child to make progress appropriate in light of the child's

circumstances.” Id. at 999. The “essential function of an IEP is to set out a plan for pursuing

academic and functional advancement.” Id. A substantive standard not focused on student

progress “would do little to remedy the pervasive and tragic academic stagnation that prompted

Congress to act” in the IDEA. Id. As the Court noted, “an ‘education’ is what the IDEA

promises,” and “[p]rogress through [mastery of the school curriculum] is what our society

generally means by an ‘education.’” Id. This is why the U.S. Department of Education declared

in 2015 that, under the IDEA, IEPs “must be aligned with the State’s academic content standards

for the grade in which the child is enrolled.”2

       The progress must, moreover, be “appropriately ambitious” in light of each child’s

individual circumstances and unique strengths and capabilities. 137 S. Ct. at 1000. Reflecting

the U.S. Department of Education’s guidance, the Court stated that “for most children, a FAPE

will involve integration in the regular classroom and individualized special education calculated

to achieve advancement from grade to grade.” Id.



2
  U.S. Dep’t of Educ., Office of Special Educ. & Rehab. Servs., Dear Colleague Letter on FAPE
at 1 (Nov. 16, 2015) (the Department’s guidance is designed to “help make certain that children
with disabilities are held to high expectations”),
https://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/guidance-on-fape-11-17-2015.pdf.
The Department’s guidance was a focus of Petitioner’s brief in the Supreme Court, as well as
those of the United States and other amici. See generally Brief for Petitioner, Endrew, 137 S. Ct.
988 (2017) (No. 15-827) 2016 WL 6769009; Brief for the United States as Amicus Curiae in
Support of Petitioner, Endrew, 137 S. Ct. 988 (2017) (No. 15-827) 2016 WL 6873024; Brief of
Former Officials of the U.S. Department of Education as Amici Curiae in Support of Petitioner,
Endrew, 137 S. Ct. 988 (2017) (No. 15-827) 2016 WL 6873058.


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       For children with significant cognitive or other disabilities that may limit their ability to

meet grade level academic standards, the IEP must give the student “the chance to meet

challenging objectives.” Id.  As Congress has directed, for these students, progress should be

measured against “alternate academic achievement standards” that must be “aligned to ensure”

the student “is on track to pursue postsecondary education or employment.” Every Student

Succeeds Act, 20 U.S.C. § 6311(b)(1)(E)(i) (2015). As the Department of Education has

clarified, “alternate academic achievement standards” must be aligned with state content

standards for the grade in which the student is enrolled, and designed to promote further

education, work, and independence.”3

       In Endrew, therefore, the Court resoundingly rejected the “bigotry of low expectations”4

that marked lower courts’ interpretations of Rowley. It required instead that schools provide

special education designed to enable students with disabilities to meet high expectations.

Endrew F., 137 S. Ct. at 1000.

       As backdrop to the Court’s decision, Congress expressly linked the IDEA to the “No

Child Left Behind Act,” the Elementary and Secondary Education Act (“ESEA”), which requires

States to adopt “challenging academic content standards and aligned academic achievement

standards” for all students, including those with disabilities. 20 U.S.C. § 6311 (b)(1)(A)-(D); see

also 20 U.S.C. 6311(b)(2) and (c)(4)(A). By linking the IDEA to the ESEA’s accountability



3
 Dear Colleague Letter, supra note 2, at 5; 20 U.S.C. § 6311(b)(1)(E)(i); see also 20 U.S.C. §
1400(d)(1)(A) (special education should “emphasize[]” instruction and services designed to
prepare students “for further education, employment, and independent living”).
4
  Brief of Former Officials of the U.S. Department of Education as Amici Curiae in Support of
Petitioner at 6, Endrew, 137 S. Ct. 988 (2017) (No. 15-827) 2016 WL 6873058. (“[W]e should
reject the soft bigotry of low expectations and expect all children, including children with
disabilities, to achieve academic success….”).


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measures, Congress established a “unified system of accountability” to promote its purpose of

“ensur[ing] that all children”— “including children with disabilities”—“are held to high

academic achievement standards.” S. Rep. No. 108-185, at 17-18 (2003). The 2015

reauthorization of the ESEA through the Every Student Succeeds Act retains the requirement

that children with disabilities are held to the same challenging state academic standards as are all

students. 20 U.S.C. § 6311(b)(1).5

          Some children may be far behind grade level and require help to catch up. According to

the U.S. Department of Education, “In a situation where a child is performing significantly

below the level of the grade in which the child is enrolled, an IEP Team should determine annual

goals that are ambitious . . . . [T]the annual goals need not necessarily result in the child’s

reaching grade-level within the year covered by the IEP, but . . . help close the gap.”6

          In all circumstances, however, Endrew requires States to implement an IEP that is

reasonably calculated to enable the child to make progress commensurate with the child’s

potential. The decision of the Tenth Circuit that the Supreme Court reversed makes clear that

Drew’s IEP did not meet this standard.

    II.      Schools Across the Country Have For Years Employed Educational Methods
             That Permit Them to Meet the Standard Announced in Endrew.

          As Endrew recognized, the IDEA requires children with disabilities to receive both

“special education” and “related services.” Endrew F., 137 S. Ct. at 994. Special education is

“specially designed instruction” that adapts, as appropriate to the child’s needs, “the content,


5
 These standards must be aligned with the entrance requirements for public colleges and
universities in each State. 20 U.S.C. § 6311(b)(1)(D)(i).
6
  Dear Colleague Letter, supra note 2, at 5 (in such cases, “in order to align the IEP with grade-
level content standards, the IEP Team should estimate the growth toward the State academic
content standards for the grade in which the child is enrolled that the child is expected to achieve
in the year covered by the IEP”).
                                                  10
methodology, or delivery of instruction …to ensure access of the child to the general curriculum,

so that the child can meet the educational standards within the jurisdiction . . . that apply to all

children.” 34 C.F.R. § 300.39(b)(3). “Related services” are the “developmental, corrective, and

other supportive services . . . required to assist a child with a disability to benefit from special

education.” 34 C.F.R. § 300.34(a).

          Over the last thirty-five years, education methods for students with disabilities have

vastly improved. “Research has demonstrated that children with disabilities who struggle in

reading and mathematics can successfully learn grade-level content and make significant

academic progress when appropriate instruction, services, and supports are provided.”7 This

includes students, who like Drew, have been diagnosed with Autism Spectrum Disorder, or

“ASD.”

          For example, public schools regularly implement multi-tiered systems of support to meet

the academic and behavioral needs of all students, including students with disabilities.8 Using

this approach, sometimes called Response to Intervention (“RTI”), schools provide quality core

instruction that meets students’ needs.9 After identifying students who need additional support,




7
    Dear Colleague Letter, supra note 2, at 1.
8
  See OSEP Technical Assistance Ctr., Positive Behavioral Interventions & Supports, Multi-
tiered System of Support (MTSS) & PBIS (defining MTSS as “the practice of providing high-
quality instruction and interventions matched to student need, monitoring progress frequently to
make decisions about changes in instruction or goals, and applying child response data to
important educational decisions”), http://www.pbis.org/school/mtss (last visited Oct. 5, 2017).
9
 See U.S. Dep’t of Educ., Office of Special Educ. Programs, A Response to Intervention (RTI)
Process Cannot Be Used to Delay-Deny an Evaluation for Eligibility under the Individuals with
Disabilities Education Act (IDEA) at 2 (Jan. 21, 2011) (“OSEP Response”) (“[m]any [school
districts] have implemented successful RTI strategies”; among the core characteristics of such
approaches is “high quality research-based instruction in [the] general education setting”),
http://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/osep11-07rtimemo.pdf. See generally
                                                   11
schools provide evidence-based interventions of moderate to high intensity to address the

individual learning challenges of each student.10

       Schools, including those implementing tiered systems of support are also guided by the

principles of Universal Design for Learning (UDL), which focuses on individualized approaches

to teaching and learning for all students, thereby facilitating the inclusion of students with

disabilities in classrooms with students without disabilities.11

       Behavioral interventions, known as positive behavioral interventions and supports

(‘PBIS’), have success in eliminating or minimizing inappropriate behavior. PBIS builds

positive behavior, including by addressing the role of the school environment in students’

behaviors.12


U.S. Dep’t of Educ., Office of Special Educ. Programs, IDEAs That Work: Tiered Support,
https://ccrs.osepideasthatwork.org/teachers-academic/tiered-support (last visited Oct. 5, 2017).
10
   See, e.g., American Institutes for Research, Ctr. on Response to Intervention, RTI Glossary of
Terms (“MTSS allows for the early identification of learning and behavioral challenges and
timely intervention for students who are at risk for poor learning outcomes.”),
http://www.rti4success.org/resources/mtssrti-glossary-terms#MTSS (last visited Oct. 5, 2017);
OSEP Technical Assistance Ctr., Positive Behavioral Interventions & Supports, Multi-tiered
System of Support (MTSS) & PBIS supra note 8.
11
   See, e.g., Massachusetts Dep’t of Elementary & Secondary Educ., The Massachusetts Tiered
System of Supports (MTSS) (last updated Oct. 11, 2011) (explaining that schools implementing
MTSS are guided by UDL principles), http://www.doe.mass.edu/sped/mtss.html (last visited Oct.
5, 2017); Nat’l Ctr. On Universal Design for Learning, What is UDL?,
http://www.udlcenter.org/aboutudl/whatisudl (last visited Oct. 5, 2017). In 2015 Congress
recognized the success of UDL as an approach to helping all students achieve proficiency,
including students with disabilities, in the Every Student Succeeds Act, which requires states to
develop academic assessments consistent with UDL, and requires schools providing federally
funded comprehensive literacy instruction to incorporate UDL in the instruction. See 20 U.S.C.
§ 6311(b)(2)(B)(xiii), (b)(2)(D)(i)(IV), (b)(2)(J).
12
   See OSEP Technical Assistance Ctr., Positive Behavioral Interventions & Supports, Tier 3
Supports (“Positive behavior intervention and support is an application of a behaviorally-based
systems approach. . . . Attention is focused on creating and sustaining Tier 1 (universal for ALL
students), Tier 2 (targeted group support for SOME students), and Tier 3 (individual support for
a FEW students) systems of support that improve lifestyle results (personal, health, social,
                                                 12
       Educators have developed many interventions incorporating PBIS for students with ASD

who may, like Drew, have behavioral needs.13 Functional communication training (“FCT”)

helps students with ASD learn to avoid or replace challenging behaviors, leading to better

education outcomes.14 This involves a school-based team, including the student’s parents, the

student, teachers, administrative staff, and specialists, that identifies the function of a problem

behavior and determines how the student will be taught the replacement response, as part of a

behavior intervention plan.15


family, work, recreation) for all children and youth by making problem behavior less effective,
efficient, and relevant, and desired behavior more functional.”),
http://www.pbis.org/school/tier3supports (last visited Oct. 5, 2017); see also OSEP Technical
Assistance Ctr., Positive Behavioral Interventions & Supports, Multi-tiered System of Support
(MTSS) & PBIS, supra note 8 (“Positive Behavioral Interventions and Supports (PBIS) is a
process that is consistent with the core principles of MTSS”).
13
  See U.S. Dep’t of Educ., Inst. of Educ. Sciences, Nat’l Ctr. for Special Educ. Research,
Summary of Autism Spectrum Disorders Research at 1 (Oct. 2015) (“Autism Spectrum Disorders
Research”) (noting that ASD symptoms may vary in severity and may include social
communication and interaction deficits; restrictive and repetitive behaviors, interests, and
activities; intellectual impairment; sensory sensitivity; attention and executive functioning
problems, motor difficulties, and behavior problems), http://ies.ed.gov/ncser/pdf/ASD_2015.pdf.
14
  See Robert C. Pennington & G. Rich Mancil, Functional Communication Training, in Darlene E.
Perner & Monica E. Delano, Council for Exceptional Children, A Guide to Teaching Students
with Autism Spectrum Disorders Ch. 5 (2013) (“Pennington & Mancil, Functional
Communication Training”); see also G. Richmond Mancil, Functional Communication Training:
A Review of the Literature Related to Children with Autism, 41 Educ. & Training in
Developmental Disabilities 213, 214 (2006) (“Mancil, Functional Communication Training”)
(defining “functional communication training” as assessing the function of a behavior through
functional behavior assessments and then replacing the challenging behavior with a
communicative response that serves the same function),
http://daddcec.org/Portals/0/CEC/Autism_Disabilities/Research/Publications/Education_Trainin
g_Development_Disabilities/2006v41_Journals/ETDD_200609v41n3p213-
224_Functional_Communication_Training_A_Review_Literature_Related.pdf.
15
  See Mancil, Functional Communication Training, 41 Educ. & Training in Developmental
Disabilities at 214 (after replacing challenging behavior with a functional communicative
response, “[t]he final step in FCT involves ignoring the challenging behavior” and “prompting
and acknowledging the use of the communicative response that replaces the challenging
behavior”). The requirement that schools perform a functional behavioral assessment and develop
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       Other evidence-based behavioral interventions for students with ASD include preteaching

and prompting. Teachers or peer students may also model desired behavior. Students may be

taught to more effectively self-regulate behavior.16 Sometimes, it is simply a matter of offering a

student an opportunity to regroup from overwhelming outside stimuli.17

       These approaches are just a small sample of the numerous techniques that have been

employed in public schools to enable students with disabilities, including those with behavioral

and communication challenges, to meet high expectations. When schools employ these methods,

children, including children like Drew who have behavioral needs, can thrive.18

                                         CONCLUSION

       Drew’s IEP was not “appropriately ambitious.” Endrew F., 137 S. Ct. at 997. The

“markedly more demanding” standard embraced by the Supreme Court requires entry of

judgment for Drew and his parents.


or revise a behavior intervention plan when a student with a disability is repeatedly suspended, or
suspended or expelled for more than 10 days, was included in the IDEA as part of the 1997
amendments. See Individuals with Disabilities Education Act Amendments of 1997, Pub. L. No.
105-17, § 101, 111 Stat. 37, 93-94 (codified as amended at 20 U.S.C. § 1415(k)(1)).
16
   See Barry M. Prizing, Ph.D., et al., The SCERTS Model: A Transactional, Family Centered
Approach to Enhancing Communication and Socioemotional Abilities of Children with Autism
Spectrum Disorder, Infants and Young Children, vol. 16:4 (Oct./Nov./Dec. 2003), at pp. 296-
316, http://journals.lww.com/iycjournal/Abstract/2003/10000/The_SCERTS_Model__A_Transa
ctional,_Family_Centered.4.aspx.
17
  See Pennington & Mancil, Functional Communication Training, supra note 14; see also
Cleveland Clinic, Behavioral Intervention for Children with Autism,
http://my.clevelandclinic.org/childrens-hospital/specialties-services/departments-centers/center-for-
autism/behavioral-intervention-autism (last visited Oct. 5, 2017).
18
   See Wendy Machalicek et al., A Review of School-Based Instructional Interventions for
Students with Autism Spectrum Disorders, 2 Research in Autism Spectrum Disorders 395-416
(2008) (evaluating research indicating effective methods in teaching students with ASD
academic skills, communication skills, functional life skills, play, and social skills),
http://www.meadowscenter.org/files/resources/RASD-Machalicek-08.pdf.

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Dated this 5th day of October 2017.


                                           Respectfully submitted,

                                           BAKER HOSTETLER LLP

                                           /s/ María R. Coor
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                                           Attorney for undersigned Organizations and
                                           former officials of the U.S. Department of
                                           Education




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Organizational Signatories

The Judge David L. Bazelon Center for Mental Health Law

The National Down Syndrome Congress

The Autistic Self Advocacy Network

The Arc of the United States

The Arc of Colorado

Former Officials of the U.S. Department of Education Signatories

Dr. Alexa Posny, Assistant Secretary of the Office of Special Education and Rehabilitative
Services (2009-2012)

Michael Yudin, Assistant Secretary of the Office of Special Education and Rehabilitative
Services (2015 - 2016); Acting Assistant Secretary of the Office of Special Education and
Rehabilitative Services Elementary and Secondary Education (2012 – 2015), Acting Assistant
Secretary for Elementary and Secondary Education (2011 - 2012)

Stephanie Smith Lee, Director of the Office of Special Education Programs (2002 – 2005)

Madeleine Will, Assistant Secretary of the Office of Special Education and Rehabilitative
Services (1983-1989)




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                                 CERTIFICATE OF SERVICE

I hereby certify that on this October 5, 2017, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send electronic notification to the following:

William E. Trachman
General Counsel
Douglas County Public Schools
Attorney for Respondent

W. Stuart Stuller
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